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                                             UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF SOUTH CAROLINA


    In re:                                                                                    CASE NO: 14-02885-hb
                                                                                                 CHAPTER: 13
     Lawrence Stephen Lindsay
     Deborah Johnson Lindsay                                                    NOTICE OF PLAN MODIFICATION AFTER
                                                                                 CONFIRMATION, MOTIONS TO VALUE
                                                                                  SECURITY, AVOID JUDICIAL LIEN,
                                                                                  AVOID A NONPURCHASE-MONEY,
     SSN: xxx-xx-4006                               Debtor(s).                 NONPOSSESSORY SECURITY INTEREST
     SSN: xxx-xx-9273                                                         AND LIEN, AND/OR TO ASSUME OR REJECT
                                                                               AN EXECUTORY CONTRACT/UNEXPIRED
                                                                                               LEASE

  I. NOTICE TO CREDITORS AND PARTIES IN INTEREST: The above-captioned debtor1 proposed a
  chapter 13 plan and motions that were previously confirmed by this court; debtor now moves, pursuant to
  11 U.S.C. § 1329(a), Fed. R. Bankr. P. 3015(g) and Fed. R. Bank. P. 2002(a)(5), to modify the plan as
  follows:
           The plan is modified to surrender a 2009 Nissan Rogue to creditor Ally Financial. The vehicle is
  in need of significant repairs and the debtors cannot afford to pay for the needed repairs. The debtors spent
  a significant amount on medical expenses for their son in 2015 which resulted in the debtors becoming
  delinquent on their mortgage payment, plan payment and other household expenses. The plan is modified
  to lower the plan base and to restructure the monthly plan payments, including three payments of $0.00 per
  month. The debtors are informed and believe the change in their financial circumstances and the condition
  of the vehicle justifies the filing and modification of the chapter 13 plan.
  This modification to the chapter 13 plan and motions may affect your rights. Failure to object may
  constitute an implied acceptance of and consent to the relief requested.

           A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or modifications to the
  Court’s form plan (See exhibits to SC LBR 3015-1 and 3015-2, “SC LBR” refers to the SC Local
  Bankruptcy Rules, available at www.scb.uscourts.gov) are highlighted by italics. Deletions are noted as
  “Not Applicable” or by striking through the deleted provisions. If changes to this form or if an alternative
  plan is proposed, a cover sheet that summarizes and identifies the changes shall be filed and served
  herewith.

           B. DEADLINE FOR FILING OBJECTIONS, OPPORTUNITY FOR NOTICE AND HEARING
  ON CONFIRMATION OF MODIFIED CHAPTER 13 PLAN AND MOTIONS: Objections to the motions
  and any provision of the plan must be made in accordance with SC LBR 9014-1, properly served, and filed
  with the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201, within twenty-eight
  (28) days from the date this document is served. Timely objections will be scheduled for hearing and
  separate notice of such a hearing will be given. If no timely objection is filed, the Court, upon
  recommendation of the chapter 13 trustee and without further hearing or notice, may enter an order
  confirming the modified plan and granting the motions.

  II. MOTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A NONPURCHASEMONEY,
  NONPOSSESSORY SECURITY INTEREST AND LIEN, AND/OR TO ASSUME OR REJECT AN
  EXECUTORY CONTRACT/UNEXPIRED LEASE. The debtor requests that confirmation of this plan alter the
  rights of the following creditor:



       1

   When used herein, the term "debtor" shall apply as applicable either in the singular or in the plural, if there are joint debtors in
   the case.
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  Advantage Assets II, Inc.
  Ally Financial
  1st Franklin Financial
  Colonial Finance Co., Inc
  Colonial Finance Co., Inc
  Credit Central
  Credit Central
  OneMain Financial (lien avoidance as to household goods only / valuation as to vehicle only)
  Regional Finance
  Regional Finance
  Republic Finance
  Southern Finance

            A. Nonpossessory, Nonpurchase-Money Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid
  the following nonpossessory, nonpurchase-money security interest and lien in household goods:

         Name of creditor
        and description of               Value of         Total of    Exemption       Estimated      Security interest Security interest
       property securing lien            Debtor’s          all                         security       Not avoided       to be avoided
                                        interest in       other                      interest/debt    (see IV(B)(4) (see IV(E) below)
                                         property         liens                                          below)

    1st Franklin Financial /            1,500.00       23,514.69       1,500.00       1,024.00            0%               100%
        household goods

   Colonial Finance Co., Inc /          1,500.00       23,338.69       1,500.00       1,200.00             0%              100%
        household goods

   Colonial Finance Co., Inc /          1,500.00       22,648.69       1,500.00       1,890.00             0%              100%
        household goods

   Credit Central / household           1,500.00       23,770.69       1,500.00        768.00              0%              100%
             goods

   Credit Central / household           1,500.00       23,938.69       1,500.00        600.00              0%              100%
             goods

      OneMain Financial /               1,500.00       12,250.69       1,500.00      12,288.00             0%              100%
       household goods

  Regional Finance / household          1,500.00       23,338.69       1,500.00       1,200.00             0%              100%
             goods

  Regional Finance / household          1,500.00       23,938.69       1,500.00        600.00              0%              100%
             goods

  Republic Finance / household          1,500.00       20,170.00       1,500.00       4,368.69             0%              100%
             goods

  Southern Finance / household          1,500.00       23,938.69       1,500.00        600.00              0%              100%
             goods


            B. Judicial Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the following
  judicial lien:2




       2
           For co-owned property, see In re Ware, 274 B.R. 206 (Bankr. D.S.C. 2001) and Exhibit C to SC LBR 4003-2.
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       Name of creditor and         Estimated       Total of        Applicable        Value of the        Judicial lien        Judicial lien
      description of property        judicial      all senior/    Exemption and     debtor’s interest     not avoided            avoided
           securing lien               lien       unavoidable      Code Section       in property
                                                      liens

 Advantage Assets II, Inc. /         1,390.44      96,491.00       50,000.00 /        88,000.00                    0%            100%
  Lot and house located at                                       S.C. Code Ann.
      108 Sevier Place,                                           Section 15-41-
 Spartanburg County, SC                                             30(A)(1)




            C. Valuation of Security: The debtor moves, in accordance with 11 U.S.C. § 506, to establish the
   value of a lien as follows:


  Name of creditor and description Value of Debtor’s      Holder and amount of       Estimate of    Value of lien          Unsecured claim
     of property securing lien     interest in property      superior liens        creditor’s claim (see IV(B)(4)           after valuation
                                                                                                       below)             (see IV(E) below)
       Ally Financial /
  2012 Nissan Maxima Sedan              21,975.00                 N/A                23,505.68          21,975.00         Any amount in
             4D S                                                                                                            excess of
                                                                                                                             21,975.00
                                                                                                                           (estimated at
                                                                                                                             1,530.68)
     OneMain Financial /                                                                                               Any amount in
  1997 Chevrolet 1500 Pickup            1,200.00                  N/A                12,288.00          1,200.00
                                                                                                                      excess of 1,200.00
           Truck                                                                                                        (estimated at
                                                                                                                          11,088.00)


           D. Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor moves for the
   assumption of the following executory contract and/or unexpired lease. The debtor agrees to abide by all
   terms of the agreement and to cure any pre-petition arrearage or default in the manner below. Any
   executory contract or unexpired lease not specifically mentioned is rejected.


  Name of Creditor and lease or Amount of regular Estimated amount of Cure Provisions for any default Regular payments to be paid by
    contract to be assumed         payment               Default        paid by (Debtor or trustee)     Debtor directly to creditor
                                                     (state if none)                                     beginning (month/year)




   III. THE CHAPTER 13 PLAN: PAYMENT OBLIGATIONS OF THE DEBTOR.
            A. Payments from the debtor to the chapter 13 trustee (the “trustee”): The debtor submits to the
   supervision and control of the trustee all or such portion of future earnings or other future income as is
   necessary for the execution of the plan. In addition, the debtor will pay to the trustee any portion of a
   recovery under a pre-petition claim or cause of action that constitutes disposable income or is not exempt.

           The debtor shall pay to the trustee the sum of $1,150.00 per month for a period of 22 months, the
   sum of $0.00 per month for a period of 3 months, and the sum of $865.00 per month for a period of 35
   months, unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan.

            B. Payments from the debtor directly to creditors: The debtor shall pay all post-petition priority
   obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
   on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due,
   unless otherwise ordered by the Court. The debtor may be required to pay some or a portion of pre-petition
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     debts directly to a creditor in addition to required payments to the trustee, as indicated in paragraph II(D)
     above and/or in the paragraphs that follow.
     IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of
     claim, including adequate supporting documentation, must be filed with the Court. If a claim designated in
     this plan as secured is filed as an unsecured claim and the plan is confirmed, the claim may be treated as
     unsecured for purposes of plan distributions by the trustee. If a creditor files a proof of claim alleging that
     the claim is secured, but does not timely object to the confirmation of the plan and the claim is treated as
     unsecured in a confirmed plan, the claim may be treated as unsecured for purposes of plan distributions by
     the trustee. Confirmation of this plan does not bar a party in interest from objecting to a claim. The trustee,
     after the deduction of the trustee's commission and expenses, or the debtor, as indicated, shall make
     payments as follows:

                            A. Attorney for the debtor:

                           1. The debtor and the debtor’s attorney have agreed to an attorney’s fee in the amount of
                 $3,500.00 for the services identified in the Rule 2016(b) disclosure statement filed in this case.
                 The amount of $400.00 was paid prior to the filing of the case. The remaining fee shall be
                 disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders
                 otherwise, the trustee shall disburse $1,000.00 to the attorney from the initial disbursement.3
                 Thereafter, the balance of the attorney’s compensation as allowed by the Court shall be paid, to the
                 extent then due, with all funds remaining each month after payment of allowed secured claims and
                 pre-petition arrearages on domestic support obligations. In instances where an attorney assumes
                 representation in a pending pro se case and a plan is confirmed, a separate order may be entered by
                 the Court, without further notice, which allows for the payment of a portion of the attorney’s fees
                 in advance of payments to creditors.

                           2. If, as an alternative to the above treatment, the debtor’s attorney has received a
                 retainer and cost advance and agreed to file fee applications for compensation and expenses in this
                 case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in trust until fees and
                 expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                 received $______ and for plan confirmation purposes only, the fees and expenses of counsel are
                 estimated at $_______ or less.

                            B. Secured Creditor Claims: The plan treats secured claims as follows:
                          1. General Provisions: The terms of the debtor’s pre-petition agreement with a secured
                 creditor shall continue to apply except as modified by this plan, the order confirming the plan, or
                 other order of the Court. Holders of secured claims shall retain liens to the extent provided by 11
                 U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan
                 shall timely satisfy any liens in the manner required by applicable law or order of this Court. Any
                 creditor holding a claim secured by property that is removed from the protection of the automatic
                 stay by order, surrender, or through operation of the plan will receive no further distribution from
                 the chapter 13 trustee on account of any secured claim. This also applies to creditors who may
                 claim an interest in, or lien on, property that is removed from the protection of the automatic stay
                 by another lienholder or released to another lienholder, unless the Court orders otherwise. Any
                 funds that would have been paid to any such creditor will be distributed according to the remaining
                 terms of the plan. (The preceding language does not apply if the sole reason for its application
                 arises under 11 U.S.C. § 362(c)(3) or (c)(4)). Any creditor affected by this provision may file an
                 itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of


           3
The chapter 13 trustee shall not at any time disburse to the debtor’s attorney more than: (a) the unpaid balance of (1) the fee to be paid under the
plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and authorized pursuant to paragraph 2 herein, plus (b) any supplemental
fee then applied for and authorized under the terms of the applicable Procedures for Approval of Attorney’s Fees in Chapter 13Cases.
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        the property from the protection of the automatic stay. Secured creditors that will be paid directly
        by the debtor may send standard payment and escrow notices, payment coupons, or inquiries about
        insurance, and such action will not be considered a violation of the automatic stay.
                 2. Long-term or mortgage debt. No default:

                  The debtor is current on obligations to               and will continue regular payments
        directly to that creditor. Description of collateral:
                 3. Long term or mortgage debt. Curing default: 11 U.S.C. 1322(b)(3) and/or (5):
                          a. Arrearage payments. The trustee shall pay the arrearage as stated in the
                 creditor’s allowed claim or as otherwise ordered by the Court to Citifinancial Servicing,
                 LLC at the rate of $50.00 or more per month, for its claim secured by a first mortgage on
                 lot and house located at 108 Sevier Place, Spartanburg County, South Carolina, along
                 with 0% interest. The creditor shall apply trustee payments solely to those designated
                 arrearages, i.e., those arrearages accruing before the month specified in (b) below. For so
                 long as the debtor complies with this plan, a creditor may not declare a default based on
                 any payment delinquency to be cured by this paragraph and the creditor shall not impose
                 any post-petition fee on account of any arrearage paid by the trustee.
                          b. Maintenance of regular non-arrearage payments. Beginning July 2014, the
                 Debtor shall pay directly to the creditor non-arrearage payments arising under the
                 agreement with the secured creditor. The creditor shall apply each payment under this
                 paragraph solely to post-petition obligations that accrue during or after the month
                 specified herein.
                 4. Secured portion of claims altered by valuation and lien avoidance:

                 The trustee shall pay Ally Financial the sum of $447.00 or more per month along with
        5.25% interest until the secured claim of $21,975.00 established above is paid in full. The
        remaining portion of the allowed claim will be treated as a general unsecured claim. Collateral
        description: 2012 Nissan Maxima.

                The trustee shall pay OneMain Financial the sum of $23.00 or more per month along
        with 5.25% interest until the secured claim of $1,200.00 established above is paid in full. The
        remaining portion of the allowed claim will be treated as a general unsecured claim.
                 5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of
        lien):
                The trustee shall pay                the sum of $            or more per month along with
        5.25% interest until the allowed secured claim is paid in full. Collateral description:
                    6. Surrender of property: The debtor will surrender the following property upon
        confirmation of the plan. The order confirming plan shall terminate the automatic stay as to that
        property:
                  Quantum3 Group, LLC as agent for MOMA Funding LLC.             Debtors surrender any
        interest in merchandise purchased from this creditor.

                 Ally Financial / 2009 Nissan Rogue ( The trustee has previously paid the sum of
        $5,577.64 in principal and the sum of $1,421.61 in interest to this creditor. This creditor will
        receive no further distribution from the debtor’s chapter 13 plan in regard to its secured claim. )

                Any creditor affected by this provision may file an itemized proof of claim for any
        unsecured deficiency within a reasonable time after the surrender of the property.
                 7. Secured tax debt: The trustee shall pay               the sum of $           or more per
        month until the (net balance or value) of creditor’s secured claim plus 5% interest has been paid. If
        the lien is to be valued, the debtor shall file a separate motion to value the claim and establish
        priority of any remaining tax obligations. If a tax priority creditor files a claim designated as
        secured, is not treated as secured in this paragraph, and does not timely object to confirmation of
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           this plan, then the claim may be paid as a priority claim for purposes of distributions from the
           trustee.
           C. Priority Creditors: Priority claims shall be paid as follows:
                    1. Domestic Support Claims. 11 U.S.C. § 507(a)(1):
                             a. Pre-petition arrearages. The trustee shall pay the pre-petition domestic support
                    obligation arrearage to                     at the rate of $     or more per month until the
                    balance, without interest, is paid in full.
                             b. The debtor shall pay all post-petition domestic support obligations as defined
                    in 11 U.S.C. § 101(14A) on a timely basis directly to the creditor.
                            c. Any party entitled to collect child support or alimony under applicable non-
                    bankruptcy law may collect those obligations coming due after this case was filed from
                    the income or assets of the debtor-parent/spouse without further order or relief from the
                    automatic stay. (Any claim for child support or alimony due before this case was
                    filed must be collected in accordance with 11 U.S.C. § 507(a)(1) and 11 U.S.C. §
                    1322(a)(2).)
                     2. Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507
           priority claims on a pro rata basis.
           D. Executory Contracts and Unexpired Leases: Regular payments that arise post-petition under an
  executory contract or lease that is being assumed shall be paid directly by the debtor according to the terms
  of the contract or lease. Pre-petition defaults will be cured by payments of the sum of $        or more per
  month by the trustee or the debtor according to paragraph II(D). Claims arising from the rejection of
  executory contracts or leases shall be general unsecured claims unless otherwise ordered by the Court.
           E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claims pro rata
  by the trustee to the extent that funds are available after payment of all other allowed claims. The debtor
  does not propose to pay 100% of general unsecured claims.

  V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER
  CONFIRMATION: Upon confirmation of the plan, property of the estate will remain property of the
  estate, but possession of property of the estate shall remain with the debtor. The chapter 13 trustee shall
  have no responsibility regarding the use or maintenance of property of the estate. The debtor is responsible
  for protecting the non-exempt value of all property of the estate and for protecting the estate from any
  liability resulting from operation of a business by the debtor. Nothing herein is intended to waive or affect
  adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the
  debtor.
                                                                   /s/ Lawrence Stephen Lindsay
                                                                  Lawrence Stephen Lindsay
  May 26, 2016
                                                                  /s/ Deborah Johnson Lindsay
                                                                  Deborah Johnson Lindsay

                                                                              /s/ Sharon K. Butler
                                                                              Sharon K. Butler
                                                                              Attorney for Debtor(s)
                                                                              Post Office Box 6974
                                                                              Spartanburg, SC 29304
                                                                              (864) 597-0316
                                                                              (864) 597-0317 fax
                                                                              District Court I.D. # 6147
                                       CERTIFICATE OF SERVICE
           The above signing parties certify that the foregoing Notice of Plan Modification After
  Confirmation; Amended Plan and Related Motions was served on all creditors and parties in interest
  entitled to such notice on the above stated date. The specific list of the name and addresses of parties
  served with the plan is attached to the plan filed with the Court.
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        Ally Financial
        Attn: Officer, Managing or General Agent
        P.O. Box 130424
        Roseville, MN 55113-0004

        C T Corporation System
        Registered Agent for Ally Financial, Inc.
        2 Office Park Court
        Suite 103
        Columbia, SC 29223



        Via electronic mail:

        Gretchen D. Holland, Trustee
        20 Roper Corners Circle, Suite C
        Greenville, SC 29615

        U.S. Trustee’s Office
        Strom Thurmond Federal Building
        1835 Assembly Street, Suite 953
        Columbia, SC 29201-2448
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                                                                                                         II, Inc
                                                  Document          Page
                                             1735 John B White, Sr Blvd  8 of 9         c/o Trace M Dillon, Attorney
                                              Suite 11                                       Trace Dillon, LLC
                                              Spartanburg SC 29301-5462                      1130 Hurricane Shoals Road NE
                                                                                             Lawrenceville GA 30043-4851

Ally Financial                                Ally Financial serviced by Ally Servicing LL   (p)TRITON MANAGEMENT GROUP
P O Box 380902                                PO Box 130424                                  P O BOX 241525
Minneapolis MN 55438-0902                     Roseville, MN 55113-0004                       MONTGOMERY AL 36124-1525



American InfoSource LP as agent for           Asset Acceptance Corp                          Business Revenue Systems, Inc
Check N Go                                    P O Box 2036                                   P O Box 8986
PO Box 248838                                 Warren MI 48090-2036                           Fort Wayne IN 46898-8986
Oklahoma City, OK 73124-8838


                                              Capital One                                    Cardiology Consultants
                                              P O Box 30285                                  1083 Boiling Springs Road
                                              Salt Lake City UT 84130-0285                   Spartanburg SC 29303-2298



Carolinas Pathology                           Cashwell / CW Internet of SC                   Cavalry SPV I, LLC
c/o Stern & Associates                        1010 Wayne Avenue                              500 Summit Lake Drive, Ste 400
415 Edgeworth Street, Suite 210               Suite 510                                      Valhalla, NY 10595-1340
Greensboro NC 27401-2071                      Silver Spring MD 20910-5653


Check N Go                                    CitiFinancial Servicing LLC                    Citifinancial
227 East Blackstock Road                      P. O. Box 6043                                 605 Munn Road
Spartanburg SC 29301-2632                     Sioux Falls, SD 57117-6043                     Fort Mill SC 29715-8421



Citifinancial Servicing, LLC                  Colonial Finance Co , Inc                      Colonial Finance Company
6400 Las Colinas Blvd                         544 North Church Street                        544 North Church Street,
Irving TX 75039-2900                          Suite A                                        Suite A & B
                                              Spartanburg SC 29303-3053                      Spartanburg, SC 29303


Credit Central                                Credit Central                                 Forest Recovery Services, LLC
140 Fernwood Drive                            700 East North Street                          2504 Highway 44 W
Suite 5                                       Suite 15                                       Suite 2
Spartanburg SC 29307-2200                     Greenville SC 29601-3013                       Inverness FL 34453-3717


GE Capital Retail Bank / Care Credit          GECRB / Care Credit                            GEMB / Belk
Bankruptcy Department                         P O Box 965036                                 ATTN: Bankruptcy Dept
P O Box 103104                                Orlando FL 32896-5036                          P O Box 103104
Roswell GA 30076-9104                                                                        Roswell GA 30076-9104


GEMB / Belk                                   GENESIS FINANCIAL SERVICES                     Green Tree Servicing LLC
P O Box 965028                                3175 COMMERCIAL AVE STE 201                    P O Box 6172
Orlando FL 32896-5028                         NORTHBROOK IL 60062-1924                       Rapid City SD 57709-6172
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                                                                                                      Service
                                                    Document      Page 9 of 9        Centralized Insolvency Operations
                                                                                           P O Box 7346
                                                                                           Philadelphia PA 19101-7346


Kay Jewelers                                    Deborah Johnson Lindsay                    Lawrence Stephen Lindsay
P O Box 3680                                    108 Sevier Place                           108 Sevier Place
Akron OH 44309-3680                             Spartanburg, SC 29302-4621                 Spartanburg, SC 29302-4621



Mary Black Memorial Hospital                    Medical Data Systems, Inc                  Midland Credit Management, Inc.
1700 Skylyn Drive                               2001 9th Avenue                            as agent for Asset Acceptance LLC
Spartanburg SC 29307-1061                       Suite 312                                  PO Box 2036
                                                Vero Beach FL 32960-6413                   Warren, MI 48090-2036


Mobil Loans, LLC                                OneMain Financial                          OneMain Financial
P O Box 1409                                    6801 Colwell Blvd                          PO Box 140489
Marksville LA 71351-1409                        Irving TX 75039-3198                       Irving TX 75014-0489



OneMain Financial, Inc                          T. Lowndes Pope                            (p)PORTFOLIO RECOVERY ASSOCIATES LLC
P.O. Box 6042                                   Riley Pope and Laney, LLC                  PO BOX 41067
Sioux Falls, SD 57117-6042                      Post Office Box 11412                      NORFOLK VA 23541-1067
                                                Columbia, SC 29211-1412


Quantum3 Group LLC as agent for                 REGIONAL MANAGEMENT CORPORATION            Real Time Resolutions, Inc as Agent for
MOMA Funding LLC                                PO BOX 776                                 CHECK N GO
PO Box 788                                      MAULDIN, SC 29662-0776                     PO Box 566027
Kirkland, WA 98083-0788                         (864) 546-3404                             Dallas, TX 75356-6027


Regional Finance                                Republic Finance                           (p)REPUBLIC FINANCE LLC
195 A South Converse Street                     2115 East Main Street                      1140 ROMA AVE
Spartanburg SC 29306-3243                       Spartanburg SC 29307-1453                  HAMMOND LA 70403-5464



Rise Credit                                     South Carolina Department of Revenue       Southern Finance
4150 International Plaza                        P O Box 12265                              435 East Main Street
Suite 400                                       Columbia SC 29211-2265                     Suite 3
Fort Worth TX 76109-4819                                                                   Spartanburg SC 29302-1965


Spartanburg County Delinquent Tax Office        Spartanburg Regional Medical Center        Thomas McCleod, M D
P O Box 3060                                    101 East Wood Street                       1071 Boiling Springs Road
Spartanburg SC 29304-3060                       Spartanburg SC 29303-3072                  Spartanburg SC 29303-2201



                                                USA Web Cash                               Utah Loan Servicing, LLC
                                                3175 Commercial Avenue                     283 East Gentile Street
                                                Suite 201                                  Suite 100
                                                Northbrook IL 60062-1924                   Layton UT 84041-3729
